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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION

_____________________________                             __________________________
Crystal Long                              *
                                          *
              Plaintiff,                  *      Case No.: 8:17-cv-01955-GJH
                                          *
                                          *
                                          *
                                       v. *
                                          *
                                          *
Ability Recovery Services, LLC, et al.    *
                                          *
              Defendants.                 *
_______________________________________________________


                                              ORDER


       It is hereby ORDERED and DECREED this               day of               , 2018 that the

Motion for Summary Judgment of Defendant, Ability Recovery Services, LLC pursuant to

Federal Rule of Civil Procedure 56 of Defendant as to all Counts in Plaintiff’s Amended

Complaint is GRANTED whereby summary judgment is granted in favor of Defendant, Ability

Recovery Services, LLC as to each Count in Plaintiff, Crystal Long’s Amended Complaint and

the Motion for Partial Summary Judgment filed by Plaintiff, Crystal Long as to Counts I and III

in her Amended Complaint is DENIED.

                                           SO ORDERED



                                           HONORABLE GEORGE JARROD HAZEL
                                           UNITED STATES DISTRICT JUDGE
